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                             UNITED STATES DISTRICT COURT


                               DISTRICT OF SOUTH DAKOTA


                                     WESTERN DIVISION



 PHILLIP WAYNE POND,                                             5:24-CV-05038-RAL


                       Plaintiff,

        vs.                                              OPINION AND ORDER DENYING
                                                      PLAINITFF'S MOTIONS FOR JUDICIAL
 MEGAN POPPEN, U.S. District Attorney at              NOTICE AND SUPERVISORY ACTION
 Dist. of South Dakota Western Division, in
individual and official capacity; BRIAN HEALY,
Special Agent F.B.I. at Rapid City Federal
Bureau ofInvestigation, in individual and official
capacity; DANIAL MOSTELLER,United States
Marshal at Sioux Falls, in individual and official
capacity; and BRIAN MUELLER, Pennington
Co. Sherriff at Pennington County Jail, in
individual and official capacity,

                       Defendants.



       Plaintiff Phillip Wayne Pond, an inmate at the Pennington County Jail, filed this pro se

civil rights lawsuit on June 5, 2024. Doc. 1. Pond filed a motion to leave to proceed in forma

pauperis and provided the Court with his prisoner trust account report. Docs. 2, 3. This Court

granted Pond's motion for leave to proceed in forma pauperis and ordered him to pay an initial

partialfilingof$9.82by July 27,2024. Doc. 7. To date. Pond has not paid the initial partial filing

fee,so this Court has not screened Pond's complaint in accordance with 28 U.S.C.§ 1915A. Ponds

has filed two motions for judicial notice and supervisory action. Docs. 5, 8. In his motions,Pond

accuses the Honorable Karen E. Schreier and a staff member with the Clerk ofCourtfor the District

ofSouth Dakota ofintentionally falsifying the record in a habeas action Pond commenced. Doc 5
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at 2; Doc.8 at 3. Pond alleges "[t]his reveals prejudice and conspiracy to violate [his] Due Process

Rights." Doc.5 at 2. For the reasons explained below,Pond's motions are denied.

                     FACTUAL AND PROCEDURAL BACKGROUND


       On March 17, 2021, Pond filed a petition for writ of habeas corpus pursuant to 28 U.S.C.

§2241. Pond v. Mosteller.5:21-CV-05016-KES(D.S.D.I.Doc. 1. At the time he filed his petition,

Pond was a federal pretrial detainee. Id at 1. In his § 2241 petition,Pond requested that the Court

dismiss the indictment in a pending criminal matter, United States v. Phillip Pond.5:21-CR-50028

(D.S.D.). 5:21-CV-05016-KES, Doc. 1 at 7. Pond alleged four grounds to support his § 2241

petition:(1)that the grandjury relied on hearsay statements to indict him;(2)that the arrest warrant

was issued without probable cause; (3) that the prosecutors engaged in selective and vindictive

prosecution; and (4)that his court-appointed counsel refused to file certain motions. Id at pp. 6-

7. Judge Schreier screened Pond's § 2241 petition, dismissing Pond's § 2241 petition without

prejudice because his claims were entangled with issues in his pending criminal proceeding. Id

at Doc. 12, pp. 2-3. Judge Schreier entered judgment without prejudice in favor of respondents

and against Pond. Id. at Doc. 13.

       After a jury found Pond not guilty on all pending charges. Judge Schreier entered a

judgment of acquittal. 5:21-CR-50028-KES, Docs. 103, 111. On April 16, 2024, almost three

years after Pond's § 2241 petition was dismissed without prejudice. Ponds filed a motion for

reconsideration of the dismissal on the grounds that the not guilty verdict in 5:21-CR-50028-KES

validates several, if not all, of the claims he raised in his § 2241 petition. 5:21-CV-05016-KES,

Doc. 18 at 1-2. Ponds also filed a notice of appeal to the United States Court of Appeals for the

Eighth Circuit from the May 10, 2021,judgment dismissing his § 2241 petition without prejudice.

Id. at Doc. 19. After reviewing the District Court's original file, the Eighth Circuit dismissed
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Pond's appeal as untimely. Id at Doc.22. Subsequently,the Eighth Circuit denied Pond's petition

for rehearing by the panel. Id. at Doc. 24. Judge Schreier denied Pond's motion for

reconsideration. Id. at Doc. 23. On June 28, 2024, Pond filed with the Eighth Circuit a "Pro Se

Motion for Judicial Notice and Supervisory Action." Pond v. Mosteller. 24-1972 (8th Cir. Jun.

28, 2024). Pond's motion for judicial notice and supervisory action filed with the Eighth Circuit

raises many of the same arguments Pond makes in the motions for judicial notice and supervisory

action that are pending before this Court. S^Docs. 5,8. The Eighth Circuit denied Pond's motion

to take judicial notice and supervisory action. Pond v. Mosteller. 24-1972(8th Cir. Jul. 2, 2024).

The Eighth Circuit also ordered that no further filing would be accepted in Pond's appeal in his

§ 2241 action. Id.

        On January 18,2024,Pond was indicted for conspiracy to distribute a controlled substance

in violation of 21 U.S.C. §§ 846, 841(a), and 841(b)(1)(A) and distribution of a controlled

substance to an individual under 21 in violation of 21 U.S.C. §§ 841(a)(1) and 859(a). United

States V. Phil Pond. 5;24-CR-50009-KES (D.S.D.), Doc. 1. Following a detention hearing,

Magistrate Judge Wollmann ordered that Pond be detained pending trial. Doc. 44. A jury trial is

scheduled for July 30, 2024. Id., Doc. 143. In this § 1983 action. Pond alleges that he is being

unlawfully detained and that the pending criminal charges against him should be dismissed for

various reasons. Doc. 1. Pond has raised the same arguments he now raises in his motions for

judicial notice and supervisory action in this § 1983 action in his pending criminal case. See 5:24-

CR-50009-KES, Docs. 154, 221.
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                                          DISCUSSION


I.      Pond's Allegations of Conspiracy and Falsification ofthe Record are Unfounded

        Pond alleges that Judge Schreier "clearly must have abused discretion, by allowing to the

record to be false" and to reflect that judgment was entered in favor of the defendants in Pond's

§ 2241 action. Doc. 5 at 2. Pond makes this allegation based on the Eighth Circuit notifying him

that the District Court had failed to serve the respondents in his §2241 action. Id Pond's argument

misrepresents the Eighth Circuit record. After the District Court Clerk ofCourt transmitted Pond's

notice ofappeal to the Eighth Circuit,the Eighth Circuit Clerk ofCourt sent Pond a letter informing

him that the appeal pleading had been docketed and provided the assigned case number. Pond v.

Mosteller. 24-1972(8th Cir. May 8, 2024). The letter also states that "[w]e note that the matter

was not served by the district court on any other party. Accordingly, you are notified that you are

the only party to this appeal." Id The docketing letter does not reference any inaccuracy or

falsification of the district court record. Id Further, Pond's notice of appeal was dismissed as

untimely, which is wholly unrelated to whether the respondents were served or whether Pond was

the only party to the appeal. 5:21-CV-05016, Doc. 22. Simply put, there is no record evidence or

authority to support Pond's allegation that Judge Schreier and any staff from the Clerk of Court

conspired to violate his due process rights by falsifying the district court record

II.     This Court Lacks Authority to take Judicial Notice of Alleged Constitutional
        Violations in Pond's Criminal Case


        Federal Rule of Evidence 201(b) provides that the "court may judicially notice a fact that

is not subject to reasonable dispute because it: (1) is generally known within the trial court's

territorial jurisdiction; or (2) can be accurately and readily determined from sources whose

accuracy cannot reasonably be questioned." As previously noted, the matters of which Pond

requests this Court to take judicial notice are arguments he raised in his pending criminal case
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challenging the validity of the indictment. See 5:24-CR-50009-KES. Docs. 154. 221. These

matters are not "facts" that cannot reasonably be disputed. Rather, Pond is requesting that this

Court take judicial notice of his arguments challenging the validity of an indictment in a pending

criminal case. This Court declines to do so. In essence, Pond is requesting that the Court review,

in the context of a § 1983 action, the rulings of the assigned District Court Judge and Magistrate

Judge in a pending criminal case. It is not proper for this Court to do so, regardless of how Pond

postures his request.

       Finally, to the extent Pond's motions forjudicial notice and supervisory action request this

Court order that Judge Schreier recuse herself in the pending criminal case. Pond's request is

denied. This Court does not have authority, in this § 1983 action, to order that the District Court

Judge assigned to a pending criminal case recuse herself. Further, after reviewing Pond's motions

for judicial notice and supervisory action as well as the docket entries in Pond's pending criminal

case, 5:24-CR-50009-KES,this Court finds no reason that Judge Schreier should consider recusal.

        Accordingly, it is

       ORDERED that Pond's motions forjudicial notice and supervisory action. Docs. 5, 8, are

denied. It is further


       ORDERED that Pond's motions for judicial notice and supervisory action, Docs. 5, 8,

shall be filed under seal as they identify a minor,along with the minor's date of birth, interviewed

by the FBI. ^D.S.D. Civ. LR 5.2.
       DATED July            2024.

                                              BY THE COURT:



                                              ROBERTO A. LANGE
                                              CHIEF JUDGE
